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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 HIMELDA MENDEZ,
                                Plaintiff,
                                                                   19-CV-9023 (JPO)
                     -v-
                                                                        ORDER
 KASMIN GALLERY INC.,
                                Defendant.


J. PAUL OETKEN, District Judge:

       The Court has been informed that the parties have reached a settlement in principle of

this case. Accordingly, it is hereby ORDERED that this action is DISMISSED without costs and

without prejudice to restoring the action to the Court’s calendar, provided the application to

restore the action is made within thirty days.

       All filing deadlines and conference dates are adjourned sine die.

       SO ORDERED.

Dated: December 19, 2019
       New York, New York

                                                 ____________________________________
                                                            J. PAUL OETKEN
                                                        United States District Judge
